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                                                              USDC SDNY
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                                                              ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                  DOC #:
SOUTHERN DISTRICT OF NEW YORK                                 DATE FILED: 9/30/15

--------------------------------------------------------x
ROBERT CORWIN,
                                                             11 Civ. 2457 (LOS)

                                   Plaintiff,                NOTICE OF DISMISSAL
                                                             PURSUANT TO RULE 4l(a)
        Against                                              OF THE FEDERAL RULESA
                                                             OF CIVIL PROCEDURE
XIANGZHI CHEN, et al.

                                    Defendants.
---------------------------------------------------------x
         WHEREAS, this shareholder's derivative action was filed on April 11, 2011,

         WHEREAS, on August 19, 2011, ShengdaTech Inc. the company on whose behalf this

derivative action was brought, filed a petition for bankruptcy in the United States Bankruptcy

Court for the District of Nevada,

         WHEREAS, this action was stayed pending the bankruptcy proceeding,

         WHEREAS, the authorities hold that upon the filing of a bankruptcy petition a derivative

action becomes an asset of the bankrupt estate, Cohain v. Klimley, 20 10 U.S. Dist. LEX IS 98870,

*34-35, (S.D.N.Y. Sept. 20, 2010); Ritchie Capital Mgmt., L.L.C. v. Gen. Elec. Capital Corp.,

2015 U.S. Dist. LEXIS 101697, *23 (S.D.N.Y. Aug. 4, 2015); Capital Midwest Fund LP v.

Johnson, 2013 Minn. Dist. LEXIS 14, *13-14 (Minn. Dist. Ct. 2013).

        WHEREAS, since the derivative action became an asset of the bankrupt estate, Plaintiff

in this action has no standing to prosecute the action. See, In re Keene Corp., 164 B.R. 844, 853

(Bankr. S.D.N.Y. 1994) ("Claims against officers and directors for breach of fiduciary duty ... are

property of the estate within the meaning of Section 541 of the Bankruptcy Code. The trustee,

therefore, is the only person with standing to bring those claims.... ").
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            WHEREAS, the Shengdatech Liquidating Trust reach a settlement with the Company's

     directors and officers liabilities carriers resulting in a $7.9 million recovery from the insurers. (A

     copy of the Order approving the settlement in Bankruptcy is annexed hereto as Exhibit A. The

     Motion for Approval, which gives an in-depth background of the bankruptcy and the reasons

     supporting the $7.9 million settlement may be found on the Docket in Case 11-52649-gwz, entry

     982, United States Bankruptcy Court, District of Nevada.) Accordingly, the claims raised in the

     instant matter have been litigated in the appropriate forum and this matter must be deemed res

     judicata.

            THEREFORE, in light of the foregoing,

             PLEASE TAKE NOTICE that pursuant to Rule 41(a) of the Federal Rules of Civil

     Procedure, this action is hereby dismissed.



     Dated: September 29, 2015



The status conference scheduled for October 1, 2015,
is cancelled. The Clerk of the Court is directed to close
case

Dated: September 30, 2015
       New York, New York                                          420 Lexington Avenue Suite 2440
                                                                   New York, NY 10170
                                                                   212-867-1156
                                                                   212-504-8343 (Fax)

                                                                   rjacobsra:~jacobsclasslaw.com


                                                                   Attorneys for Plaintiff




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                   EXHIBIT A




                   EXHIBIT A
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 2

 3

 4
                                           Honorable Gregg W. Zivc
                                        United S tates Bankruptcy Judge




 7
      NA CY A. PETERMAN, ESQ.                      KARA B. HEN DRI CKS, ESQ.
 8    Illinois Bar No. 6208120                     Nevada Bar No. 7743
      (admiued pro hac vice)                       GREENBERG TRA URIG , LLP
 9    MIRIAM G. BAHCALL                            3773 Howard llughcs Parkway,
      Illinois Bar No. 6191823                     Suite 400 orth
10
      (admilled pro hac vice)                      Las Vegas. Nevada 89169
II    GREE BERG TRAU RIG, LLP                      Telephone: 702-792-3773
      77 West Wacker Drive, Suite 3100             Facsimile: 702-792-9002
12    Chicago. Illinois 60601                      Email: hendricksk@gtlaw.com
      Telephone: 3 12-456-8400
13    f-acsimi le: 3 12-456-8435
      Email: petermann@gtlaw.com
14
      Email: bahcallm@gtlaw.corn
15    Counsel for ShengdaTech Liquidating 7i·usl

16
                             UNITED STATES BANKRUPTCY COURT
17
                                 FOR THE DISTRICT OF NEVADA
18
      In rc: SHENGDA TECH,                         Case No. BK-11-52649 GWZ
19
      INC.,                                        Chapter II
20
                           Debtor.                   ORDER APPROV ING THE
21
                                                     SRENGDATECH LIQUIDATING
22                                                   TRUST'S MOTION FOR ENTRY OF
                                                     ORDER PURSUANT TO
                                                     BANKRUPTCY RULE 90 19
24                                                   APPROVING SETTLEMENT
                                                     RELATED TO DIRECTORS &
25                                                   OFFICERS INSURANCE POLICIES
                                                     AI\TD RELA TEO LITIGATION
26

27
28
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 2             Upon the motion (the "Motion") 1 of the ShengdaTech Liquidating Trust (the
 3
      "Liquidating Trust") for entry of an order, pursuant to Rule 9019 of the Federal Rules of
 4
      Bankruptcy Procedures (the "Bankruptcy Rules") and Rule 9019 of the Local Rules of
 5
      Bankruptcy Procedure for United States Bankruptcy Court for the District of Nevada (the "Local
 6
      Rules"), approving the Settlement Agreement and Release (the "Agreement") by and between
 7
      the Liquidating Trust, A. Carl Mudd ("Mudd"), Sheldon B. Saidman ("Saidman" and together
 8    with Mudd, the "Independent Directors"), Federal Insurance Company ("Federal"), Ironshore
 9    Indemnity, Inc. ("Ironshore"), the Miller Investment Trust, Jura Limited ("Jura"), the Randi and
10
      Clifford Lane Foundation (the "Lane Foundation" and collectively with the Miller Investment
11    Trust and Jura, the "Miller Trust Plaintiffs") and Oaktree Capital Management, L.P ., on behalf of
12    certain of its managed accounts; Oaktree (Lux.) Funds - Oaktree Convertible Bond Fund;
13    Oaktree High Income Convertible Fund, L.P.; Oaktree High Income Convertible Fund II, L.P.;
14    Oaktree Non-U.S. Convertible Fund, L.P.; Oaktree TT Multi-Strategy Fund, L.P.; OCM Global
15    Convertible Securities Fund; OCM International Convertible Trust; OCM Non-U.S. Convertible
16    Securities Fund; Lazard Asset Management LLC, on behalf of its managed accounts; HFR CA
17    Lazard Rathmore Master Trust; AG OFCON LTO.; Zazove Associates LLC, on behalf of certain
18    of its managed funds and accounts; CNH CA Master Account, L.P.; CNH Diversified
19
      Opportunities Master Account, L.P.; Advent Claymore Convertible Securities and Income Fund
20
      II; AQR Capital Management, LLC; AQR Convertible Opportunities Bond UCITS Fund; AQR
21
      Delta Master Account, L.P.; AQR Opportunistic Premium Offshore Fund L.P.; AQR Diversified
22    Arbitrage Fund; and Delaware Public Employees' Retirement System (the "Oaktree Plaintiffs"
23    and collectively with the foregoing entities and individuals the "Parties"), all as more fully
24    described in the Motion;
25
              NOW        THEREFORE,             BASED        ON     THE       FINDINGS         OF      FACT       AND
26    CONCLUSIONS OF LAW SUBMITTED CONCURRENTLY HEREWITH, IT IS
27    HEREBY ORDERED, ADJUDGED AND DECREED THAT:
28    1
         Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion or if
      not defined in the Motion, the meanings ascribed to such terms in the Agreement.
                                                              2
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 2           I.      The Motion is granted.
 3           2.      A fully executed copy of the Agreement is attached hereto as Exhibit A and is
 4
      hereby approved subject to the terms of this Order. The terms ofthe Agreement are approved in
 5   all respects and the Parties to the Agreement are authorized and directed to enter into the
 6    Agreement in substantially the form attached to the Motion.
 7           3.      The Parties to the Agreement are authorized and directed to carry out all of the
 8
      terms of the Agreement and to take all such other or further actions as are necessary or desirable
 9   to implement the provisions ofthe Agreement.
10           4.      The releases set forth in paragraph 5 ofthe Agreement are hereby approved.
11           5.      To the extent that any distributions are made to the holders of Allowed Class 4
12    Claims in accordance with the Plan, the Liquidating Trust shall make those distributions to the
13    Class 4 Claimholders on a pro rata basis, with the exception of the Miller Trust Plaintiffs and the
14    Oaktree Plaintiffs who have agreed not to participate in any such distribution.
15           6.      Any and all of the Liquidating Trust's beneficiaries and any and all of
16    ShengdaTech's creditors, shareholders, officers, directors, insurers, or other parties in interest
17    who are not signatories to the Agreement are enjoined from directly or indirectly bringing,
18    commencing, initiating, instituting, maintaining, prosecuting or otherwise aiding in any action or
19    other proceeding of any kind or nature, whether for the benefit of the Liquidating Trust, the
20    Chapter 11 Estate, the beneficiaries of the Liquidating Trust, or the shareholders or creditors of
21    ShengdaTech or for the benefit of any third party, against any of ShengdaTech, the Liquidating
22   Trust, the Liquidating Trust Released Parties, the ShengdaTech Released Parties, the
23
      Independent Directors, the Independent Director Released Parties, the Miller Trust Plaintiffs, the
24    Miller Trust Released Parties, the Oaktree Plaintiffs, the Oaktree Released Parties, Federal, the
25    Federal Released Parties, lronshore or the lronshore Released Parties for any act committed by
26   such parties with respect to the Federal Policy, the Ironshore Policy, the settlement herein, this
27
      Agreement, or any other action or proceeding relating to the conduct of Federal or Ironshore.
28


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 2           7.      Any interested party who is not a signatory to the Agreement is enjoined from
 3    directly or indirectly bringing, commencing, initiating, instituting, maintaining, prosecuting or
 4    otherwise aiding any Claim, action or other proceeding against the Liquidating Trust, the
 5
      Liquidating Trust Released Parties, ShengdaTech, the ShengdaTech Released Parties, the
 6    Independent Directors, the Independent Director Released Parties, the Miller Trust Plaintiffs, the
 7    Miller Trust Released Parties, the Oaktree Plaintiffs, the Oaktree Released Parties, Federal, the
 8    Federal Released Parties, lronshore or the lronshore Released Parties in connection with the
 9    Federal Policy or the Ironshore Policy.
IO           8.      Any and all of the Liquidating Trust's beneficiaries and any and all of
II    ShengdaTech's creditors, shareholders, officers, directors, insurers or other parties in interest
I2    who are not signatories to the Agreement are enjoined from bringing or making any claims in
I3    any jurisdiction for contribution or indemnification of any kind against the Independent Director
I4    Released Parties that arise out of or are in any way related to the Claims.
I5           9.      Notwithstanding anything to the contrary herein or in the Agreement, the
I6    Securities Plaintiffs shall maintain the right to pursue their pending action against the
I7    Independent Directors, and the Independent Director Released Parties expressly retain any and
18    all rights to seek Defense Costs and other coverage from the Ironshore Policy as set forth in
I9    paragraph 5.g of the Agreement.
20            l 0.   Further notwithstanding anything to the contrary herein, KPMG's and Morgan
21
      Stanley's rights will be subject to the terms of the Plan and Confirmation Order and any
22    agreements that might exist between either or both of KPMG and Morgan Stanley, on the one
23    hand, and the Liquidating Trust Released Parties or the ShengdaTech Released Parties, on the
24
      other hand.
25            l l.   The Settlement Amount will be disbursed as follows: (a) $I,OOO,OOO to the
26    Liquidating Trust for payment of Defense Costs incurred by the Liquidating Trust (or as directed
27    by the Liquidating Trust to its counsel, Greenberg Traurig, LLP) and to the extent any monies
28    remain after payment of Defense Costs, such monies shall be used to fund the ongoing

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 2    administration of the Liquidating Trust or distributed to the holders of the Allowed Class 4
 3    Claim, net of costs of and fees associated with any such distribution; (b) $2,400,000 to the Miller
 4
      Trust Plaintiffs and (c) the balance of$4,500,000 to the Oaktree Plaintiffs.
 5            12.    The Liquidating Trust is authorized and empowered to take all actions necessary
 6    to implement the relief granted in this Order.
 7            13.    This Court's entry of an order approving a settlement between the Liquidating
 8    Trust and Class 5 (the Securities Plaintiffs) with respect to the Class 5 Claim (the "Class 5
 9    Settlement") does not impact the Court's ability to enter this Order and approve the Agreement,
10
      notwithstanding its effect on the Class 5 Settlement.
11
              14.    Notwithstanding this Order or the Agreement, the Independent Director Released
12    Parties expressly retain any and all rights to seek Defense Costs and other coverage from the
13    Jronshore Policy in connection with: (i) the Securities Class Action, including but not limited to
14    any settlement or judgment in connection therewith; and (2) any claim, including but not limited
15    to any third-party discovery request or any other action, that has been the subject of notice under
16    the Ironshore Policy. With that sole exception, however, all of the obligations and Claims under
17    or in connection with the Federal Policy or the Ironshore Policy have been resolved. There shall
18    be no available insurance coverage for the Class 5 Claim and the Securities Plaintiffs shall have
19    no right to seek recovery on account of such Class 5 Claim from the Federal Policy or the
20    Ironshore Policy.
21
              15.    Upon entry of this Order, the Insurance Adversary Proceeding pending before this
22    Court (Adversary Proceeding No. 14-AP-5054) shall be dismissed with prejudice, the
23
      Liquidating Trust's lawsuit against certain former officers and directors pending before this
24
      Court (Adversary Proceeding No. 13-AP-547) shall be dismissed with prejudice and the request
25
      of the Independent Directors that costs to be imposed against the Oaktree Plaintiffs in connection
26    with the Motion to Enforce shall be deemed withdrawn with prejudice.
27
             1 6.    This Court shall retain jurisdiction to hear and determine all matters arising from
28    the implementation of this Order.


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 2
      SIGNED AND DATED ABOVE.
 3
 4
      Respectfully prepared and submitted by:
 5
     Is/ Nancv A. Peterman
 6   NANCY A. PETERMAN, ESQ.
 7   Illinois Bar No. 6208120
     (admitted pro hac vice)
 8   MIRIAM G. BAHCALL
     Illinois Bar No. 6191823
 9   (admitted pro hac vice)
     GREENBERG TRAURIG, LLP
10

II    77 West Wacker Drive, Suite 3100
      Chicago, Illinois 6060 I
12
      and
13
      KARA B. HENDRICKS, ESQ.
14
      Nevada Bar No. 7743
15    GREENBERG TRAURIG, LLP
      3773 Howard Hughes Parkway
16    Suite 400 North
      Las Vegas, Nevada 89169
17
      Counsel for ShengdaTech Liquidating Tntsl
18

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               CERTIFICATION OF COUNSEL PURSUANT TO LOCAL RULE 9021
 2
         In accordance with Local Rule 9021, counsel submitting this document certifies as follows
 3
      (check one):
 4

 5           D       The court has waived the requirement of approval under LR 9021.

 6           D       This is a chapter 7 or 13 case, and either with the motion, or at the hearing, I
                     have delivered a copy of this proposed order to all counsel who appeared at the
 7                   hearing, any unrepresented parties who appeared at the hearing, and each has
                     approved or disapproved the order, or failed to respond, as indicated below
 8                   [list each party and whether the party has approved, disapproved, or failed to
                     respond to the document]:
 9
                     This is a chapter 9, I I, or 15 case, and I have delivered a copy of this
10
                     proposed order to all counsel who appeared at the hearing, any unrepresented
II                   parties who appeared at the hearing, and each has approved or disapproved
                     the order, or failed to respond, as indicated below [list each party and
12                   whether the party has approved, disapproved, or failed to respond to the
                     document]:
13

14                                    DATE                                                       NO
             NAME                                         AGREE           DISAGREE
                                  CONTACTED                                                   RESPONSE
15
                                 July 13,2015                 X
      Stuart M. Grant
16    sgrant@gelaw .com
17    Christine M.
      Mackintosh
18    cmackintosh@gelaw.
      com
19
      Counsel  for      the
20    Oaktree Plaintiffs I
      Class 4
21
                                 July 13,2015                 X
      Mary Jo Barry
22
      mjbarry@damato-
23    lynch.com
      Counsel for Ironshore
24
      Indemnity, Inc.
25                               July 13, 2015                X
      Merril Jay Hirsch
26    merril.hirsh@troutma
      nsanders.com
27
      Counsel for Federal
28    Insurance Company
